                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )      Case No. 11-00015-05-CR-W-GAF
                                            )
ANGELA D. HAYS,                             )
                                            )
                      Defendant.            )

                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation Concerning Plea of Guilty (Doc. #288) of

United States Magistrate John Maughmer, to which no objection has been filed, the plea of guilty

is now accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by

subsequent order of the court.

                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: October 29, 2012




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